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         EXHIBIT 1
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A   lb.

;_:_t CT Corporation                                                            Service of Process
                                                                                Transmittal
                                                                                12/31/2018
                                                                                CT Log Number 534658339
          TO:     Shelley Alleyne
                  Pricewaterhouse Coopers
                  PriceWaterhouse Coopers Center, 300 Madison Avenue
                  New York, NY 10017

          RE:     Process Served in South Carolina

          FOR:    PricewaterhouseCoopers LLP (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                Shannon Ashford, Pltf. vs. Priccwaterhousecoopers, LLP, Dft.
          DOCUMENT(S) SERVED:             Letter, Summons, Complaint
          COURT/AGENCY:                   Richland County Court of Common Pleas, SC
                                          Case # 2018CP4006545
          NATURE OF ACTION:               Employee Litigation - Wrongful Termination - 10/2015
          ON WHOM PROCESS WAS SERVED:     CT Corporation System, Columbia, SC
          DATE AND HOUR OF SERVICE:       By Certified Mail on 12/31/2018 postmarked on 12/27/2018
          JURISDICTION SERVED:            South Carolina
          APPEARANCE OR ANSWER DUE:       Within 30 days after service, exclusive of the day of service
          ATTORNEY(S) / SENDER(S):        J. Charles Ormond
                                          301 Stoneridge Drive
                                          Columbia, SC 29210
                                          803-933-9000
          ACTION ITEMS:                   CT has retained the current log, Retain Date: 01/01/2019, Expected Purge Date:
                                          01/06/2019

                                          Image SOP

                                          Email Notification, Patrice Edmonds patrice.edmonds@us.pwc.com

                                          Email Notification, IVAN P. STOLZE ivan.p.stolze@us.pwc.com

                                          Email Notification, Shelley Alleyne shelley.alleyne@us.pwc.com

          SIGNED:                         CT Corporation System
          ADDRESS:                        2 Office Park Court
                                          Suite 103
                                          Columbia, SC 29223
          TELEPHONE:                      302-658-7581




                                                                                Page 1 of 1 / JB
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
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                                   USPS CERTIFIED MAILTM
    Ormond-Dunn Attorneys at Law                                                      US POSTAGE AND FEES PAID

0   301 STONERIDGE DR                                                                 FIRST-CLASS
    COLUMBIA Sc 29210-8048                                                            Dec 27 2018
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                                       9407 1108 9876 5023 7503 74
                                    Ct Corporation System
                                    Registered Agent for Pricewaterhousecoopers,LLP
                                    2 OFFICE PARK CT STE 103
                                    COLUMBIA SC 29223-5948
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                                                                                                       ELECTRONICALLY FILED-2018 Dec 142:45PM- RICHLAND - COMMON PLEAS - CASE#2018CP4006545
STATE OF SOUTH CAROLINA                       )
                                              )       IN THE COURT OF COMMON PLEAS
COUNTY OF RICHLAND                            )            FIFTH JUDICIAL CIRCUIT

Shannon Ashford,                              )       Civil Action No.: 2018 CP 40
             Plaintiff,                       )
                                              )
       VS.                                    )        SUMMONS & COMPLAINT
                                              )         (JURY TRIAL DEMANDED)
Pricewaterhousecoopers, LLP                   )
              Defendant/s.                    )
                                             )


       YOU ARE HEREBY SUMMONED and required to answer the Complaint herein, a
copy of which is herewith served upon you, and to serve a copy of your answer to said Complaint
upon the subscriber at his office at 301 STONERIDGE DRIVE, Columbia, South Carolina
29210 within 30 days after the service hereof, exclusive of the day of such service, and if you fail
to answer within the prescribed time, a judgment by default will be rendered against you for the
amount or other remedy requested in the attached Complaint plus interest and costs.




Attorney for Plaintiff
ORMOND - DUNN •



                                                      s/ J. Charles Ormond, Jr.
                                                      J. Charles Ormond, Jr. /
301 Stoneridge Drive
Columbia, SC 29210
(803) 933-9000 / Fax: 803 828.7404


December 13, 2018




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STATE OF SOUTH CAROLINA
                                                        IN THE COURT OF COMMON PLEAS
COUNTY OF RICHLAND                                           FIFTH JUDICIAL CIRCUIT

Shannon Ashford,                                        Civil Action No.: 2018 CP 40
             Plaintiff,

        VS.                                                     COMPLAINT
                                                          (JURY TRIAL DEMANDED)
Priccwaterhousecoopers, LLP
              Defendant's.


        Plaintiff, for her Complaint against Defendant, avers as follows:


                                         INTRODUCTION
1.      This is a complaint authorized and instituted pursuant to the Federal Civil Rights Act of
        1964, as amended (herein "Title VII"), 42 U. S. C. §2000 et. seq. ,.


                                              PARTIES
2.      Plaintiff is a citizen of the United States and, at all times relevant herein, was a resident of
        the County of Richland, State of South Carolina.
3.      Upon information and belief, Pricewaterhousecoopers, LLP. (Hereinafter PWC or Defendant
        or Employer) is a. legal entity doing business in South Carolina organized in one of the
        United States.
4.      Upon information and belief, Defendant employs/employed (during the relevant period) in
        excess of 500 employees.


                                  JURISDICTION AND VENUE
5.      The unlawful conduct alleged in this Complaint was committed in Richland County, South
        Carolina.
6.      Plaintiff has satisfied all agency, administrative and judicial prerequisites to the institution
        of this action.
7.      Subject matter jurisdiction is proper in this Court under the following statutes: Section 15-7-

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        10 et seq. (As amended) the Code of Laws for South Carolina and relevant case law. 42 U.
        S. C. §2000 (e), et. seq. (5 USCA §706) and relevant case law.


                                   FACTUAL BACKGROUND
8.      Plaintiff was hired by Defendant in or about April of 2015 in its only service delivery center
        located in the United Sates. Plaintiff worked hard and performed to or beyond the legitimate
        expectations of her employer, Defendant. Plaintiff was informed she was performing well
        during the first four or so months.
9.      New manager/s were brought in during in or about the late summer of 2015. In or about
        October of 2015, because of disparate treatment after the change in management, Plaintiff
        informed management of her concerns about potential discrimination (racial) in the work
        place.
10.     In 2016, she became eligible for but was denied a general promotion and other specific
        promotions where white employees with the same or lesser qualifications in the same or
        similar positions were given such promotions. She was further placed in a project known to
        be absent advancement opportunity.
11.     Based on statements, demeanor of her supervisor and other observations, Plaintiff became
        further concerned that she was being treated differently and negatively by her immediate
        manager/s because of her race. Plaintiff brought her concerns about her failure to obtain any
        advancement to her managing director.
12.     In January of 2017 Plaintiff met with another manager about the fact that she had not been
        promoted generally for a raise in salary and title and specific denied promotions. In March
        of 2017, Plaintiff applied for Senior Associate (Healthcare). Plaintiff was, upon information
        and believe the most qualified candidate by experience and education but she was not offered
        this position.
13.     Plaintiff, unable to have her issues and concerns addressed, filed an EEO charge requesting
        an investigation based on racial and retaliatory discrimination in or about April of 2017.
14.     Plaintiff continued to apply for positions/opportunity and promotions which would hopefully
        allow her to move up in the organization commensurate with other similarly situated


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         employees and was continually denied.
15.      Further, upon her second anniversary and eligibility for general promotion, Plaintiff was
         denied such promotion and bonus and, upon information and belief, the non black employees
         on the project were given such promotion. During this period (early to mid 2017) Plaintiff
         again made her concerns known to human resources and other management that she was
         concerned her race might be a factor in the promotion decisions and was also concerned
         about the possibility of hostility for filing the charge. In such reports, she articulated the
        objective reasons for her concern to managers. In or about August of 2017, she filed an
         internal complaint stating the issues as set forth. Plaintiff filed another internal complaint
         in October of 2017 related to her concerns of discrimination. Such concerns were never
        adequately addressed.
16.      Plaintiff was provided a final administrative determination related to her charge in or about
        September of 2017. In October 31, 2017 she retained an attorney to prepare a letter in hopes
        of resolving the worsening situation and a letter was written to Employer. She filed a lawsuit
        based on such charge in State Court in or about November 29, 2017. Defendant was made
        aware that the lawsuit was filed as the limitations period would have run at a later date.
17.     Although by this time the work environment was very hostile, Plaintiff continued to work
         as hard and as diligently as she could.
18.      In January of 2018, Plaintiff was called into human resources and informed that her
        manager's determined she should be terminated.


FOR A FIRST CAUSE OF ACTION/(VIOLATION OF 42 U. S. C. §201110e, /Retaliation)


19.      Plaintiff incorporates by reference paragraphs 1 through 18 as though fully set forth herein.
20.      During all relevant times herein, Plaintiff and Defendant satisfied the Title VII definition of
        employee and employer.
21.     Plaintiff reported to her employer on several occasions that she was concerned there was
        racial discrimination (racial bias or disparate treatment on that basis) to senior managers. No
         actions were taken and both specific and general promotions were denied her and given to
         lesser qualified white employees. Plaintiff filed a charge of discrimination in good faith and

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         then a lawsuit based on such charge. Within a month of learning of the lawsuit, Defendant
         terminated the employment of Plaintiff without nondiscriminatory cause.
22.     Such reports relating to her concern of discrimination and bias and disparate treatment as
        well as her charge and lawsuit alleging discrimination were made in good faith using
        objective information and evidence.           Plaintiff further subjectively believed that
        discrimination occurred against her in failing to promote in both specific opportunities and
        general promotions.
23.     Defendant terminated Plaintiff because of her good faith complaints, inquiries, charges,
         grievances, and/or suits and claims. Such actions were protected activity under Title VII.
24.     As a direct and proximate result of the termination and Defendant's reckless, willful and
        intentional acts of discriminatory treatment and retaliation, Plaintiff has experienced severe
        emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,
        embarrassment, humiliation, increased medical expenses, past, present and future loss of
         income, and other economic and non-economic damages including direct and consequential
        damages.
25.      Plaintiff has no plain, adequate or complete remedy at law to correct Defendant's unlawful
        discrimination and seeks injunctive relief as his only means of securing full relief from
         Defendant's unlawful conduct.


WHEREFORE, Plaintiff requests that this Court:
    A.      Award Plaintiff backpay, with interest thereon, from the date of discharge until the
    Plaintiff is restored to a rightful position with commensurate wages and benefits;
    B.      Award Plaintiff compensatory and punitive damages in an amount to be determined
    by a jury, but not less than S300,000 pursuant to 42 U. S. C §1981a for Defendant's
    discriminatory conduct, race discrimination and retaliation, against her;
    C.       Permanently enjoin Defendant, their agents, officers and employees from engaging
    in all practices found by this Court to be in violation of 42 U. S. C. §2000e et. seq.;
    D.      Award Plaintiff the costs and disbursements of this action, including reasonable
    attorney's fees, pursuant to 42 U. S. C. §1988 and 2000e-5 (k);
    E.      Award such other and further relief as this Court may deem just and proper.




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FOR A SECOND CAUSE OF ACTION/(VIOLATION OF 42 .S.C.§2000e: Race
Discrimination)

26.      Plaintiff incorporates by reference paragraphs 1 through 25 as though fully set forth herein.
27.     Plaintiff is an African American (Black American). At all relevant times herein, Plaintiff
        and Defendant satisfied the Title VII definition of employee and employer.
28.      Plaintiff was treated by her manager/s in a disparate manner as opposed to similarly situated
         white employees. Plaintiff notified her employer of such disparate treatment.
29.     Plaintiff was denied general and specific promotions, for which she was well qualified,
         without cause, and was terminated without cause upon information and believe, in whole or
        in causative part because she was African American.
30.     Such actions are adverse employment actions and have directly and proximately caused
        damages recognized by the Act.
31.     Plaintiff has no plain, adequate or complete remedy at law to correct Defendant's unlawful
        discrimination and seeks injunctive relief as his only means of securing full relief from
         Defendant's unlawful conduct.


WHEREFORE, Plaintiff requests that this Court:
    A.       Award Plaintiff backpay, with interest thereon, from the date of discharge until the
    Plaintiff is restored to a rightful position with commensurate wages and benefits;
    B.       Award Plaintiff compensatory and punitive damages in an amount to be determined
    by a jury, but not less than 5300,000 pursuant to 42 U. S. C §1981a for Defendant's
    discriminatory conduct, race discrimination and retaliation, against her;
    C.       Permanently enjoin Defendant, their agents, officers and employees from engaging
    in all practices found by this Court to be in violation of 42 U. S. C. §2000e et. seq.;
    D.      Award Plaintiff the costs and disbursements of this action, including reasonable
    attorney's fees, pursuant to 42 U. S. C. §1988 and 2000e-5 (k);
    E.       Award such other and further relief as this Court may deem just and proper.




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Attorney for Plaintiff




December 13, 2018




                                            Attorney for Plaintiff




                                            s/ J. Charles Ormond, Jr.
                                             J. Charles Ormond, Jr.: SC Bar #015185




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